                   Case 2:10-cr-00237-GEB Document 53 Filed 02/18/11 Page 1 of 2


 1   Law Offices of Preeti K. Bajwa
     Preeti K. Bajwa (SBN 232484)
 2
     901 H. Street, Suite 208
 3   Sacramento, CA 95814
     (916) 444-7100
 4
 5   Attorney for Defendant
     GARY JASON GRANT
 6
 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                           No. 2:10-CR-0237
11
12                        Plaintiff,                    STIPULATION AND [PROPOSED]
                                                        ORDER
13             vs.
14                                                      DATE:
     GARY JASON GRANT                                   TIME:
15                                                      JUDGE: Hon. Garland Burrell
16
                          Defendant
17
18             It is hereby stipulated and agreed to between the United States of America through

19   Samuel Wong, Assistant U.S. Attorney, and the defendant, GARY JASON GRANT by and
20
     through his counsel, PREETI K. BAJWA, Attorney at Law that the Defendant's pre-trial release
21
     conditions be modified as follows: Mr. Grant will be placed on electronic monitoring subject to
22
23   curfew restrictions monitored by Pre-Trial services.
24
25
26
27
28


     Stip & Order for Modification.doc            -1-
     02/17/11
                            Case 2:10-cr-00237-GEB Document 53 Filed 02/18/11 Page 2 of 2


 1   DATED: February 14, 2011
 2                                                         Respectfully submitted,
 3
                                                           _/s/ Preeti Bajwa_________________
 4                                                         PREETI K. BAJWA
                                                           Attorney for Defendant
 5
                                                           GARY JASON GRANT
 6
 7
     DATED: February 14, 2011                              BENJAMIN WAGNER
 8                                                         United States Attorney

 9                                                         _/s/ Samuel Wong
10                                                         SAMUEL WONG
                                                           Assistant U.S. Attorney
11                                                         Attorney for Plaintiff
12
13
14
                                                          ORDER
15
16                         IT IS SO ORDERED. The Defendant's pre-trial release conditions are modified

17   such that the Defendant will be placed on electronic monitoring subject to curfew
18
     restrictions monitored by Pre-Trial Services.Date: 2/17/2011
19
20
21                                                                _________________________
                                                                  GARLAND E. BURRELL, JR.
22                                                                United States District Judge
     DEAC_Signature-END:




23
24
     61khh4bb
25
26
27
28


     Stip & Order for Modification.doc                   -2-
     02/17/11
